
21 N.Y.2d 885 (1968)
The People of the State of New York, Respondent,
v.
Ruben Quinones, Appellant.
Court of Appeals of the State of New York.
Argued February 21, 1968.
Decided April 3, 1968.
Julia P. Heit and Anthony F. Marra for appellant.
Frank S. Hogan, District Attorney (Sybil H. Landau and Michael Juviler of counsel), for respondent.
Concur: Judges BURKE, SCILEPPI, BERGAN, BREITEL and JASEN. Chief Judge FULD and Judge KEATING dissent and vote to reverse and order a hearing (see People v. Boundy, 10 N Y 2d 518).
Order affirmed; no opinion.
